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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-1382V
                                        UNPUBLISHED


    RAYMOND MILLIGAN, JR,                                   Chief Special Master Corcoran

                        Petitioner,                         Filed: May 18, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Laura Levenberg, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Jamica Marie Littles, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

        On May 21, 2021, Raymond, Milligan, Jr. filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barre Syndrome (GBS),
resulting from the influenza vaccination he received on October 26, 2019. Petition at 1.
Petitioner further alleges that he received the vaccination within the United States, his
GBS symptoms persisted for more than six months, and neither he, nor any other party,
has ever filed any action for Petitioner’s vaccine-related injury.” Petition at 1-3. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

       On April 25, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.

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  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Specifically, Respondent determined that “[P]etitioner has satisfied the criteria set forth in
the Vaccine Injury Table (“Table”) and the Qualifications and Aids to Interpretation (“QAI”),
which afford petitioner a presumption of causation if the onset of GBS occurs between
three and forty-two days after a seasonal flu vaccination, and there is no apparent
alternative cause.” Id. at 5-6. Respondent further agrees that “the records show that
[P]etitioner timely filed this case, received the flu vaccine in the United States, and
satisfied the statutory severity requirement by suffering the residual effects or
complications of GBS for more than six months after vaccine administration.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




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